        Case 1:24-cv-00574-NCM-RML Document 15 Filed 08/07/24 Page 1 of 1 PageID #: 56




                                          THE CITY OF NEW YORK                              KATHLEEN M. LINNANE
                                                                                            Assistant Corporation Counsel
MURIEL GOODE-TRUFANT                     LAW DEPARTMENT                              Labor and Employment Law Division
                                                                                               Telephone: (212) 356-2467
Acting Corporation Counsel                     100 CHURCH STREET                           E-mail: klinnane@law.nyc.gov
                                               NEW YORK, NY 10007




                                                                    August 7, 2024



          By e-mail to slk@stewartkarlin.com
          Stewart Lee Karlin
          Stewart Lee Karlin Law Group, P.C.
          111 John Street, 22nd Floor
          New York, NY. 10038


                                    Re: Barrett v. New York City Department of Education
                                        No. 24-cv-00574(NCM)(RML)


          Dear Mr. Karlin:

                       Please find attached, for service on you, a Motion to Dismiss the Amended
          Complaint and related documents with respect to the above-referenced action.



                                                                    Sincerely,

                                                                    /s/ Kathleen M. Linnane
                                                                    Kathleen M. Linnane
                                                                    Attorney for the Defendant
